                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :
                                     :      No. 18-MJ-79
           v.                        :
                                     :      (Saporito, M.J.)
JOHN JACOB HASAY,                    :
                           Defendant :

                  GOVERNMENT’S RESPONSE TO
                 MOTION FOR RECONSIDERATION

     On September 6, 2018, defendant John Jacob Hasay filed a motion

requesting reconsideration of the Court’s August 31, 2018 order of

detention pending trial. In this response, the United States

incorporates by reference its position and representations advanced in

support of pretrial detention at the August 30, 2018 hearing before the

Court.

     At that hearing, the United States’ opposition to Hasay’s pretrial

release was premised primarily on his danger to the community.

Accordingly, the United States furnished the Court with examples of

Hasay’s written promise to commit a hate crime, ready access to

illegally modified firearms and black-market firearm component

dealers, and reoccurring advancements of Nazi and white supremacist-


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related ideologies. Thus, the government deemed Hasay’s proposal to

attend a mental health program from which he could depart at will an

insufficient measure to safeguard the community, or even to protect

Hasay from himself.

     Hasay now proposes to attend a secure psychiatric facility that

requires 72-hour notice before he can leave on a voluntary basis. See

Def. Mot. at ¶¶ 6, 13. Although this revised proposal alleviates some of

the government’s concern, it nonetheless risks Hasay’s release from the

psychiatric facility in as little as 14 days. Id. at ¶ 9. That said, the

United States defers to the Court’s sound discretion and experience in

fashioning an appropriate resolution to this issue.



September 7, 2018                  Respectfully submitted,


                                   /s/ Phillip J. Caraballo
                                   Phillip J. Caraballo
                                   Assistant U.S. Attorney




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                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers. On September 7, 2018, she served a copy of
the enclosed

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by electronic filing on Al Flora, Esq., counsel for defendant John Jacob
Hasay.

                            /s/ Donna M. Borgia
                            Donna M. Borgia
                            Legal Assistant




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